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 6   Attorney for Defendant
 7   JULIUS CAUBAT
 8              IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
                                                  CR.S. 2:15-CR-00015 GEB
12                             Plaintiff,
13                                                REQUEST FOR ORDER AND ORDER
                   v.                             EXONERATING BOND
14
15   JULIUS CAUBAT,                               Judge: Hon. Garland E. Burrell, Jr.
16                Defendant.
17
           On or about January 30, 2015, an $30,000 appearance bond, secured by a Deed of
18
     Trust to the real Property of Julieta B. Caubat and Rodrigo R. Caubat in Thurston
19
     County, Washington was posted on behalf of defendant JULIUS CAUBAT. On January
20
     19, 2018, JULIUS CAUBAT was sentenced by this Court to 51 months and ordered to
21
     surrender on March 2, 2018.        According to the Designation Notification, JULIUS
22
     CAUBAT was to surrender to Herlong SCP which he has now done.
23
           Accordingly, it is now requested that the secured bond be exonerated and that the
24
     Clerk of the District Court be directed to reconvey back to the Trustor the Deed of Trust
25
     received by the Clerk on or about January 30, 2015.
26
     DATED: March 7, 2018                           /s/ Tasha Paris Chalfant
27                                                  TASHA PARIS CHALFANT
28                                                  Attorney for Defendant
                                                    JULIUS CAUBAT


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 1
                                            ORDER
 2
 3         IT IS HEREBY ORDERED that the appearance bond in the amount of $30,000
 4   posted by JULIUS CAUBAT and secured by real property owned by Julieta B. Caubat
 5   and Rodrigo R. Caubat in Thurston County, Washington, is hereby exonerated and the
 6   Clerk shall forthwith cause a Deed of Reconveyance to be transmitted to the Trustor at
 7   the property address contained in the Deed of Trust.
 8   Dated: March 15, 2018
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